                Case 23-32071-KRH                        Doc 1            Filed 06/16/23 Entered 06/16/23 12:24:37                              Desc Main
                                                                          Document Page 1 of 73
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Eastern District of Virginia

 Case number (If known):                           Chapter you are filing under:
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ✔
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Elizabeth
       Write the name that is on your         First name                                                      First name
       government-issued picture               Lauren
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Reeves
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 3           6     1   3                              xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
               Case 23-32071-KRH                    Doc 1         Filed 06/16/23 Entered 06/16/23 12:24:37                                   Desc Main
                                                                  Document Page 2 of 73
 Debtor 1            Elizabeth           Lauren                       Reeves                                         Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                    -                                                                -
       Number (EIN), if any.              EIN                                                              EIN


                                                       -                                                                -
                                          EIN                                                              EIN




                                                                                                           If Debtor 2 lives at a different address:
  5.   Where you live
                                          914 Hanover St
                                          Number             Street                                        Number           Street




                                          Fredericksburg, VA 22401
                                          City                                    State    ZIP Code        City                                  State      ZIP Code

                                          Fredericksburg (city)
                                          County                                                           County

                                          If your mailing address is different from the one above,         If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to    it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                     at this mailing address.


                                          Number             Street                                        Number           Street



                                          P.O. Box                                                         P.O. Box



                                          City                                    State    ZIP Code        City                                  State      ZIP Code




  6.   Why you are choosing this          Check one:                                                       Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I     ❑      Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other             have lived in this district longer than in any other
                                                 district.                                                        district.

                                          ❑      I have another reason. Explain.                           ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                           (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 2
               Case 23-32071-KRH                 Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                 Desc Main
                                                            Document Page 3 of 73
 Debtor 1           Elizabeth          Lauren                  Reeves                                         Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ✔
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔
                                       ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes.
       within the last 8 years?
                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY

                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY

                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes.
       pending or being filed by a
       spouse who is not filing this             Debtor                                                                 Relationship to you
       case with you, or by a
       business partner, or by an                District                                  When                         Case number, if known
       affiliate?                                                                                 MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                  When                         Case number, if known
                                                                                                  MM / DD / YYYY




  11. Do you rent your residence?      ❑   No.    Go to line 12.
                                       ✔
                                       ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                  ✔
                                                  ❑    No. Go to line 12.

                                                  ❑    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
              Case 23-32071-KRH                       Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                 Document Page 4 of 73
 Debtor 1           Elizabeth              Lauren                   Reeves                                         Case number (if known)
                    First Name             Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔
                                           ❑   No. Go to Part 4.

                                           ❑
      any full- or part-time
      business?                                Yes. Name and location of business

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number          Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                City                                                 State           ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ❑      None of the above



  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔
                                           ❑   No.        I am not filing under Chapter 11.

                                           ❑
      debtor, see 11 U.S.C. §
      101(51D).                                No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                          Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
              Case 23-32071-KRH                   Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                             Document Page 5 of 73
 Debtor 1           Elizabeth           Lauren                  Reeves                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔
                                        ❑   No.

                                        ❑
      property that poses or is
      alleged to pose a threat of           Yes.   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                   If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                   Where is the property?
                                                                              Number        Street




                                                                              City                                          State      ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 5
              Case 23-32071-KRH                   Doc 1         Filed 06/16/23 Entered 06/16/23 12:24:37                                         Desc Main
                                                                Document Page 6 of 73
 Debtor 1           Elizabeth           Lauren                     Reeves                                              Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔
                                        ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑                                                                     ❑
      again.
                                             I certify that I asked for credit counseling services from an         I certify that I asked for credit counseling services from an
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                              deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                              realizing or making rational decisions                                realizing or making rational decisions
                                                              about finances.                                                       about finances.
                                             ❑    Disability.   My physical disability causes me to be             ❑    Disability.   My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
              Case 23-32071-KRH                     Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                   Desc Main
                                                                Document Page 7 of 73
 Debtor 1           Elizabeth             Lauren                   Reeves                                           Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑     No. Go to line 16b.
                                                   ✔
                                                   ❑     Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑     No. Go to line 16c.
                                                   ❑     Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ✔
                                             ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑    No
      paid that funds will be available                    ❑    Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔
                                              ❑    1-49         ❑     1,000-5,000         ❑    25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑    50-99        ❑     5,001-10,000
                                              ❑    100-199      ❑     10,001-25,000
                                              ❑    200-999


  19. How much do you estimate your           ✔
                                              ❑    $0-$50,000                      ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      assets to be worth?                     ❑    $50,001-$100,000                ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                              ❑    $100,001-$500,000               ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                              ❑    $500,001-$1 million             ❑    $100,000,001-$500 million             ❑     More than $50 billion


  20. How much do you estimate your           ❑    $0-$50,000                      ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      liabilities to be?                      ✔
                                              ❑    $50,001-$100,000                ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                              ❑    $100,001-$500,000               ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                              ❑    $500,001-$1 million             ❑    $100,000,001-$500 million             ❑     More than $50 billion

 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Elizabeth Lauren Reeves
                                       Elizabeth Lauren Reeves , Debtor 1
                                       Executed on 06/16/2023
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
              Case 23-32071-KRH                      Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                 Desc Main
                                                                 Document Page 8 of 73
 Debtor 1           Elizabeth               Lauren                  Reeves                                         Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Martin C. Conway                                                 Date 06/16/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Martin C. Conway
                                                  Printed name

                                                  Conway Law Group, PC
                                                  Firm name

                                                  1320 Central Park Blvd, Suite 200
                                                  Number       Street



                                                  Fredericksburg                                                   VA      22401
                                                  City                                                             State   ZIP Code



                                                  Contact phone (855) 848-3011                       Email address martin@conwaylegal.com


                                                  34334                                                            VA
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                  Case 23-32071-KRH                             Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37                                                     Desc Main
                                                                                Document Page 9 of 73
 Fill in this information to identify your case:

  Debtor 1                      Elizabeth                   Lauren                   Reeves
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                     Eastern District of Virginia

  Case number                                                                                                                                                            ❑   Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $37,445.81

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                       $37,445.81



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $21,797.88

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                             $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                        +              $39,507.36


                                                                                                                                                  Your total liabilities                     $61,305.24

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $6,508.53


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $5,143.42




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                          page 1 of 2
              Case 23-32071-KRH                    Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                              Document Page 10 of 73
Debtor 1            Elizabeth             Lauren                 Reeves                                          Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑   Yes



7. What kind of debt do you have?
   ✔
   ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        $9,020.85




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                           $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                  $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                        $0.00



    9d. Student loans. (Copy line 6f.)                                                                                         $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                        $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +                   $0.00



    9g. Total. Add lines 9a through 9f.                                                                                       $0.00




Official Form 106Sum                               Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Case 23-32071-KRH   Doc 1    Filed 06/16/23 Entered 06/16/23 12:24:37   Desc Main
                            Document Page 11 of 73

                               Affirm Cross River Bank
                               885 Teaneck Road
                               Teaneck, NJ 07666




                               Affirm, Inc.
                               30 Isabella St , Floor 4
                               Pittsburgh, PA 15212




                               AT&T
                               PO Box 6416
                               Carol Stream, IL 60197




                               AT&T
                               PO Box 5014
                               Carol Stream, IL 60197




                               Citibank
                               907 GREAT BRIDGE BLVD
                               Chesapeake, VA 23321




                               Citibank/The Home Depot
                               Centralized Bankruptcy
                               PO Box 790034
                               Saint Louis, MO 63179-0000



                               City of Fredericksburg
                               Treasurer
                               PO Box 967
                               Fredericksburg, VA 22404-0000



                               Columbia Gas of Virginia
                               PO Box 70319
                               Philadelphia, PA 19176
Case 23-32071-KRH   Doc 1    Filed 06/16/23 Entered 06/16/23 12:24:37   Desc Main
                            Document Page 12 of 73

                               Comenity Capital Bank
                               Trading Via: Bread
                               PO Box 183003
                               Columbus, OH 43218



                               Cox
                               PO Box 1259 Dept 102424
                               Oaks, PA 19456




                               Discover Financial
                               PO Box 3025
                               New Albany, OH 43054-0000




                               Dominion Energy
                               PO Box 26666
                               Richmond, VA 23261




                               Extra Space Storage unit
                               10815 Courthouse Rd
                               Fredericksburg, VA 22408




                               Fredericksburg Area Rentals
                               Attn Barbara Crane
                               10601 Courthouse Rd Ste 210
                               Fredericksburg, VA 22407



                               Hampton General District
                               Court
                               236 North King Street
                               2nd Floor
                               Hampton, VA 23669-3518


                               Lindsey Kelly
                               11742 Jefferson Ave 3rd Fl
                               Newport News, VA 23612
Case 23-32071-KRH   Doc 1    Filed 06/16/23 Entered 06/16/23 12:24:37   Desc Main
                            Document Page 13 of 73

                               Langley Fcu
                               721 Lakefront Commons
                               Newport News, VA 23612




                               Randall W. Reeves
                               76 Beulah Land Way
                               28734




                               Syncb/Care Credit
                               Attn: Bankruptcy
                               PO Box 965060
                               Orlando, FL 32896-5060



                               Synchrony Bank/Lowes
                               PO Box 956005
                               Orlando, FL 32896




                               Truist
                               PO Box 580048
                               Charlotte, NC 28258
            Case 23-32071-KRH                              Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37                                                    Desc Main
                                                                          Document Page 14 of 73
 Fill in this information to identify your case and this filing:

  Debtor 1                 Elizabeth                    Lauren                       Reeves
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Eastern                   District of          Virginia

  Case number                                                                                                                                                          ❑   Check if this is an
                                                                                                                                                                           amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔
        ❑     No. Go to Part 2.

        ❑     Yes. Where is the property?

                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑    Single-family home                                               the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑    Duplex or multi-unit building                                    Creditors Who Have Claims Secured by Property.
                description                                       ❑    Condominium or cooperative
                                                                                                                                       Current value of the            Current value of the
                                                                  ❑    Manufactured or mobile home
                                                                                                                                       entire property?                portion you own?
                                                                  ❑    Land
                                                                  ❑    Investment property
                City               State         ZIP Code         ❑    Timeshare                                                       Describe the nature of your ownership interest
                                                                  ❑    Other                                                           (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑    Debtor 1 only
                                                                  ❑    Debtor 2 only
                                                                                                                                       ❑    Check if this is community property
                                                                  ❑    Debtor 1 and Debtor 2 only                                           (see instructions)
                                                                  ❑    At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑    No
           ✔
           ❑    Yes




Official Form 106A/B                                                                Schedule A/B: Property                                                                              page 1
           Case 23-32071-KRH                              Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37                                                    Desc Main
                                                                         Document Page 15 of 73
Debtor Reeves , Elizabeth Lauren                                                                                            Case number (if known)



       3.1     Make:                    Mercedes-Benz            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                               300D
               Model:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.

               Year:                           1976              ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Approximate mileage:            300000
                                                                 ❑    Check if this is community property (see                                            $600.00                   $600.00
               Other information:                                     instructions)




       If you own or have more than one, describe here:

       3.2     Make:                           Kia               Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                               Forte
               Model:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.

               Year:                           2023              ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Approximate mileage:            1700
                                                                 ❑    Check if this is community property (see                                        $26,948.00                 $26,948.00
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔
       ❑     No

       ❑     Yes


       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
               Year:                                             ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑    Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                 $27,548.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:           Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑     No
       ✔
       ❑     Yes. Describe. .........
                                            See Attached.                                                                                                                          $2,050.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
           Case 23-32071-KRH                        Doc 1        Filed 06/16/23 Entered 06/16/23 12:24:37                              Desc Main
                                                                Document Page 16 of 73
Debtor Reeves , Elizabeth Lauren                                                                          Case number (if known)



 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        TV, stereo, iPhone                                                                                         $250.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        1 Oil painting portrait, various artwork of floral oil paintings new and vintage                       $1,050.00


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                                                                                                                                   $600.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        Costume jewelry                                                                                             $75.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        Poodle dog                                                                                             $2,400.00


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑   No
       ✔
       ❑   Yes. Give specific
                                        See Attached.                                                                                          $1,100.00
           information. .............




Official Form 106A/B                                                     Schedule A/B: Property                                                     page 3
           Case 23-32071-KRH                                         Doc 1             Filed 06/16/23 Entered 06/16/23 12:24:37                                                                      Desc Main
                                                                                      Document Page 17 of 73
Debtor Reeves , Elizabeth Lauren                                                                                                                     Case number (if known)




                                                                                                                                                                                          ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                 $7,525.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                                     claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔
       ❑    No

       ❑    Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑    No
       ✔
       ❑    Yes .....................                                                          Institution name:

                                             17.1. Checking account:                            Langley Federal Credit Union account ending in 5903                                                                    $0.00

                                             17.2. Checking account:                            Towne Bank account ending in 2591                                                                                      $6.77

                                             17.3. Savings account:                             Langley Federal Credit Union account ending in 5904                                                                    $0.00

                                             17.4. Other financial account:                     CashApp                                                                                                                $0.00

                                             17.5. Other financial account:                     PalPal                                                                                                                 $0.00

                                             17.6. Other financial account:                     Venmo                                                                                                                  $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔
       ❑    No

       ❑    Yes .....................       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔
       ❑    No

       ❑    Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                           % of ownership:




Official Form 106A/B                                                                               Schedule A/B: Property                                                                                            page 4
           Case 23-32071-KRH                            Doc 1         Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                                     Document Page 18 of 73
Debtor Reeves , Elizabeth Lauren                                                                             Case number (if known)



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about
           them....................     Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑   No
       ✔
       ❑   Yes. List each
           account separately. Type of account:                   Institution name:

                                        401(k) or similar plan:    Cintas                                                                                $65.04

                                        401(k) or similar plan:    Fidelity Investments                                                                   $0.00


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑   No
       ✔
       ❑   Yes ......................                        Institution name or individual:

                                        Security deposit on rental unit:    Fredericksburg Area Rentals & Property Management                        $2,300.00


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔
       ❑   No

       ❑   Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔
       ❑   No

       ❑   Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




Official Form 106A/B                                                         Schedule A/B: Property                                                      page 5
           Case 23-32071-KRH                          Doc 1    Filed 06/16/23 Entered 06/16/23 12:24:37                             Desc Main
                                                              Document Page 19 of 73
Debtor Reeves , Elizabeth Lauren                                                                   Case number (if known)



 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔
       ❑   No

       ❑   Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                                                                                                             State:
                the tax years. ...................
                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........




Official Form 106A/B                                               Schedule A/B: Property                                                           page 6
           Case 23-32071-KRH                                   Doc 1            Filed 06/16/23 Entered 06/16/23 12:24:37                                                           Desc Main
                                                                               Document Page 20 of 73
Debtor Reeves , Elizabeth Lauren                                                                                                       Case number (if known)



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑    No
       ✔
       ❑    Yes. Name the insurance company
                 of each policy and list its value. ...              Company name:                                             Beneficiary:                                       Surrender or refund value:

                                                                      Lincoln Financial Group Term                               Trust - But not created
                                                                                                                                                                                                       $1.00
                                                                      Policy


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔
       ❑    No

       ❑    Yes. Give specific information. ........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔
       ❑    No

       ❑    Yes. Describe each claim. ..............



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔
       ❑    No

       ❑    Yes. Describe each claim. ..............



 35.   Any financial assets you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific information. ........




                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                 $2,372.81
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔
       ❑    No. Go to Part 6.

       ❑    Yes. Go to line 38.

                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔
       ❑    No

       ❑    Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
           Case 23-32071-KRH                                   Doc 1            Filed 06/16/23 Entered 06/16/23 12:24:37                                                          Desc Main
                                                                               Document Page 21 of 73
Debtor Reeves , Elizabeth Lauren                                                                                                       Case number (if known)



 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 41.   Inventory

       ✔
       ❑    No

       ❑    Yes. Describe. .........



 42.   Interests in partnerships or joint ventures

       ✔
       ❑    No

       ❑    Yes. Describe .......

                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔
       ❑    No

       ❑    Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                   ❑     No

                   ❑     Yes. Describe. .........




 44.   Any business-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                              $0.00
       for Part 5. Write that number here .................................................................................................................................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                              page 8
           Case 23-32071-KRH                                   Doc 1            Filed 06/16/23 Entered 06/16/23 12:24:37                                                          Desc Main
                                                                               Document Page 22 of 73
Debtor Reeves , Elizabeth Lauren                                                                                                       Case number (if known)



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔
       ❑    No. Go to Part 7.

       ❑    Yes. Go to line 47.

                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔
       ❑    No

       ❑    Yes ..........................



 48.   Crops—either growing or harvested

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔
       ❑    No

       ❑    Yes ..........................



 50.   Farm and fishing supplies, chemicals, and feed

       ✔
       ❑    No

       ❑    Yes ..........................



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




                                                                                                                                                                              ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                            ➔                       $0.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
           Case 23-32071-KRH                                     Doc 1            Filed 06/16/23 Entered 06/16/23 12:24:37                                                              Desc Main
                                                                                 Document Page 23 of 73
Debtor Reeves , Elizabeth Lauren                                                                                                           Case number (if known)



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔               $0.00


 56.   Part 2: Total vehicles, line 5                                                                                $27,548.00

 57.   Part 3: Total personal and household items, line 15                                                             $7,525.00

 58.   Part 4: Total financial assets, line 36                                                                         $2,372.81

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $37,445.81            Copy personal property total             ➔    +    $37,445.81



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                 $37,445.81




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 10
          Case 23-32071-KRH                    Doc 1     Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                        Document Page 24 of 73
Debtor Reeves , Elizabeth Lauren                                                             Case number (if known)



                 Continuation Page

 6.               Household goods and furnishings

                  Table, chair, dresser, bed, vacuum, sewing machine,
                  sheets, towels, blankets                                                                                                  $900.00

                  Table, chairs, cookware, dishes, utensils                                                                                 $500.00

                  Table, sofa, chairs, lamp, rug                                                                                            $650.00


 14.              Any other personal and household items you did not already list, including any health aids you did not list

                  Books                                                                                                                     $300.00

                  Garden tools, planter pots                                                                                                $300.00

                  Various decorative knick knacks bought from thrift stores                                                                 $500.00




Official Form 106A/B                                           Schedule A/B: Property                                                       page 11
                  Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                             Desc Main
                                                                 Document Page 25 of 73
 Fill in this information to identify your case:

  Debtor 1                    Elizabeth            Lauren             Reeves
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                      ❑    Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on              Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                      portion you own
                                                            Copy the value from       Check only one box for each exemption.
                                                            Schedule A/B
 Brief description:
                                                                                      ✔
                                                                                      ❑                $600.00                 Va. Code Ann. § 34-26(8)
 1976 Mercedes-Benz 300D                                                   $600.00
                                                                                      ❑   100% of fair market value, up
 Line from                                                                                to any applicable statutory limit
 Schedule A/B:          3.1

 Brief description:
                                                                                      ✔
                                                                                      ❑               $5,150.12                Va. Code Ann. § 34-26(8)
 2023 Kia Forte                                                        $26,948.00
                                                                                      ❑   100% of fair market value, up
 Line from                                                                                to any applicable statutory limit
 Schedule A/B:          3.2


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                     page 1 of 4
               Case 23-32071-KRH                      Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                             Desc Main
                                                                Document Page 26 of 73
 Debtor 1             Elizabeth             Lauren                 Reeves                                        Case number (if known)
                      First Name             Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on             Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from     Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                   ✔
                                                                                   ❑                $500.00                  Va. Code Ann. § 34-26(4a)
 Table, chairs, cookware, dishes, utensils                               $500.00
                                                                                   ❑   100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                   ✔
                                                                                   ❑                $650.00                  Va. Code Ann. § 34-26(4a)
 Table, sofa, chairs, lamp, rug                                          $650.00
                                                                                   ❑   100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                                   ✔
                                                                                   ❑                $900.00                  Va. Code Ann. § 34-26(4a)
 Table, chair, dresser, bed, vacuum, sewing                              $900.00
 machine, sheets, towels, blankets                                                 ❑   100% of fair market value, up
                                                                                       to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                                   ✔
                                                                                   ❑                $250.00                  Va. Code Ann. § 34-26(4a)
 TV, stereo, iPhone                                                      $250.00
                                                                                   ❑   100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                                   ✔
                                                                                   ❑               $1,050.00                 Va. Code Ann. § 34-26(2)
 1 Oil painting portrait, various artwork of floral oil                $1,050.00
 paintings new and vintage                                                         ❑   100% of fair market value, up
                                                                                       to any applicable statutory limit
 Line from
 Schedule A/B:         8

 Brief description:
                                                                                   ✔
                                                                                   ❑                $600.00                  Va. Code Ann. § 34-26(4)
 Clothes                                                                 $600.00
                                                                                   ❑   100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                                   ✔
                                                                                   ❑                $75.00                   Va. Code Ann. § 34-4
 Costume jewelry                                                          $75.00
                                                                                   ❑   100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                                   ✔
                                                                                   ❑               $2,400.00                 Va. Code Ann. § 34-26(5)
 Poodle dog                                                            $2,400.00
                                                                                   ❑   100% of fair market value, up
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:        13




Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                 page 2 of 4
               Case 23-32071-KRH                  Doc 1     Filed 06/16/23 Entered 06/16/23 12:24:37                              Desc Main
                                                           Document Page 27 of 73
 Debtor 1             Elizabeth         Lauren                Reeves                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                $500.00                  Va. Code Ann. § 34-4
 Various decorative knick knacks bought from thrift                 $500.00
 stores                                                                        ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:         14

 Brief description:
                                                                               ✔
                                                                               ❑                $300.00                  Va. Code Ann. § 34-26(4a)
 Garden tools, planter pots                                         $300.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         14

 Brief description:
                                                                               ✔
                                                                               ❑                 $5.07                   Va. Code Ann. § 34-29
 Towne Bank account ending in 2591                                     $6.77
 Checking account                                                              ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:         17
                                                                               ✔
                                                                               ❑                 $1.70                   Va. Code Ann. § 34-4
                                                                               ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit


 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-29
 Langley Federal Credit Union account ending in                        $0.00
 5903                                                                          ❑   100% of fair market value, up
 Checking account                                                                  to any applicable statutory limit

 Line from
                       17
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-4
 Schedule A/B:
                                                                               ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit


 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-29
 Langley Federal Credit Union account ending in                        $0.00
 5904                                                                          ❑   100% of fair market value, up
 Savings account                                                                   to any applicable statutory limit

 Line from
                       17
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-4
 Schedule A/B:
                                                                               ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit


 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-4
 PalPal                                                                $0.00
 Other financial account                                                       ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:         17




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                  page 3 of 4
                Case 23-32071-KRH                Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                              Desc Main
                                                           Document Page 28 of 73
 Debtor 1              Elizabeth        Lauren                Reeves                                         Case number (if known)
                       First Name       Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-4
 Venmo                                                                 $0.00
 Other financial account                                                       ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:          17

 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-4
 CashApp                                                               $0.00
 Other financial account                                                       ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:          17

 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-34
 Fidelity Investments                                                  $0.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:          21

 Brief description:
                                                                               ✔
                                                                               ❑                 $0.00                   Va. Code Ann. § 34-34
 Cintas                                                              $65.04
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:          21

 Brief description:
                                                                               ✔
                                                                               ❑               $2,300.00                 Va. Code Ann. § 34-4
 Fredericksburg Area Rentals & Property                           $2,300.00
 Management                                                                    ❑   100% of fair market value, up
 Security deposit on rental unit                                                   to any applicable statutory limit

 Line from
 Schedule A/B:          22

 Brief description:
                                                                               ✔
                                                                               ❑                 $1.00                   Va. Code Ann. §§ 38.2-3339
 Lincoln Financial Group Term Policy                                   $1.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:          31




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 4 of 4
                  Case 23-32071-KRH                         Doc 1        Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                        Document Page 29 of 73
 Fill in this information to identify your case:

  Debtor 1                       Elizabeth               Lauren              Reeves
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Eastern District of Virginia

  Case number                                                                                                                                ❑    Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                       Column A            Column B            Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                     Amount of claim     Value of            Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                Do not deduct the   collateral that     portion
    creditor’s name.                                                                                                value of            supports this       If any
                                                                                                                    collateral.         claim

 2.1 Truist                                                 Describe the property that secures the claim:                $21,797.88           $26,948.00                $0.00
      Creditor's Name
                                                              2023 Kia Forte
      PO Box 580048
      Number            Street
      Charlotte, NC 28258                                   As of the date you file, the claim is: Check all that
      City                        State       ZIP Code      apply.
      Who owes the debt? Check one.                         ❑ Contingent
      ❑ Debtor 1 only                                       ❑ Unliquidated
      ❑ Debtor 2 only                                       ❑ Disputed
      ❑ Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
      ✔ At least one of the debtors and
      ❑                                                     ❑ An agreement you made (such as mortgage
          another                                              or secured car loan)
      ❑ Check if this claim relates to a                    ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                       lien)
      Date debt was incurred                                ❑ Judgment lien from a lawsuit
                                                            ❑ Other (including a right to offset)
                                                            Last 4 digits of account number 9          0   0   1

      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $21,797.88




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 2
                Case 23-32071-KRH                    Doc 1         Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                  Document Page 30 of 73
 Debtor 1                Elizabeth          Lauren                  Reeves                                         Case number (if known)
                         First Name         Middle Name             Last Name


                                                                                                             Column A             Column B          Column C
                Additional Page
                                                                                                             Amount of claim      Value of          Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                           Do not deduct the    collateral that   portion
                2.3, followed by 2.4, and so forth.                                                          value of             supports this     If any
                                                                                                             collateral.          claim


 2.2                                                 Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                     As of the date you file, the claim is: Check all that
                                                     apply.
                                                     ❑ Contingent
       City                    State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                               ❑ Unliquidated
       ❑ Debtor 2 only                               ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                  Nature of lien. Check all that apply.
       ❑ At least one of the debtors and             ❑ An agreement you made (such as mortgage
          another                                         or secured car loan)
       ❑ Check if this claim relates to a            ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                  lien)

       Date debt was incurred
                                                     ❑ Judgment lien from a lawsuit
                                                     ❑ Other (including a right to offset)
                                                     Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                    $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number             $21,797.88
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 2
                  Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                 Desc Main
 Fill in this information to identify your case:                 Document Page 31 of 73
  Debtor 1                  Elizabeth              Lauren             Reeves
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred?
        Number          Street                                     As of the date you file, the claim is: Check all that
                                                                   apply.
                                                                   ❑ Contingent
        City                             State     ZIP Code        ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                   ❑ Disputed
        ❑ Debtor 1 only                                            Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                            ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                               ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                     government
        ❑ Check if this claim is for a community debt              ❑ Claims for death or person injury while you
                                                                      were intoxicated
        Is the claim subject to offset?                            ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 10
                   Case 23-32071-KRH                 Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1              Elizabeth            Lauren              Document
                                                                  Reeves     Page 32 of 73    Case number (if known)
                       First Name           Middle Name            Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     Affirm Cross River Bank                                              Last 4 digits of account number 8K28                                            $478.02
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?        10/04/2022
        885 Teaneck Road                                                     As of the date you file, the claim is: Check all that apply.
       Number           Street
                                                                             ❑ Contingent
        Teaneck, NJ 07666
       City                            State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔ Debtor 1 only
       ❑                                                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑ Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                             ❑
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔ No
       ❑                                                                         Charge Account
       ❑      Yes

4.2     Affirm, Inc.                                                         Last 4 digits of account number 8K28                                            $547.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?        10/01/2022
        30 Isabella St , Floor 4                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
                                                                             ❑ Contingent
        Pittsburgh, PA 15212
       City                            State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔ Debtor 1 only
       ❑                                                                     Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑ Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                             ❑
                                                                                 divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔ No
       ❑                                                                         Unsecured
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 10
                   Case 23-32071-KRH                Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1             Elizabeth            Lauren              Document
                                                                 Reeves     Page 33 of 73    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                 Total claim

4.3     AT&T                                                              Last 4 digits of account number 5582                                         $83.22
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        05/28/2023
        PO Box 6416
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        Carol Stream, IL 60197
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              Utility
       ❑      Yes

4.4     Citibank                                                          Last 4 digits of account number 2687                                  $4,308.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        07/01/2017
        907 GREAT BRIDGE BLVD
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        Chesapeake, VA 23321
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              CreditCard
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                    page 3 of 10
                   Case 23-32071-KRH                Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1             Elizabeth            Lauren              Document
                                                                 Reeves     Page 34 of 73    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                 Total claim

4.5     Citibank/The Home Depot                                           Last 4 digits of account number 1829                                  $1,334.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        11/01/2019
        Centralized Bankruptcy
                                                                          As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number          Street
                                                                          ❑   Contingent

        Saint Louis, MO 63179-0000
                                                                          ❑   Unliquidated
       City                            State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                               ❑   Student loans
       ❑      Debtor 2 only                                               ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                      divorce that you did not report as priority claims
                                                                          ❑
       ❑      At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other
                                                                              similar debts
       ❑      Check if this claim is for a community debt                 ✔
                                                                          ❑   Other. Specify
       Is the claim subject to offset?                                        ChargeAccount
       ✔
       ❑      No
       ❑      Yes

4.6     City of Fredericksburg                                            Last 4 digits of account number 3300                                    $169.74
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        2023
        Treasurer
                                                                          As of the date you file, the claim is: Check all that apply.
        PO Box 967
       Number          Street
                                                                          ❑   Contingent

        Fredericksburg, VA 22404-0000
                                                                          ❑   Unliquidated
       City                            State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                               ❑   Student loans
       ❑      Debtor 2 only                                               ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                      divorce that you did not report as priority claims
                                                                          ❑
       ❑      At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other
                                                                              similar debts
       ❑      Check if this claim is for a community debt                 ✔
                                                                          ❑   Other. Specify
       Is the claim subject to offset?                                        Utility
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                    page 4 of 10
                   Case 23-32071-KRH                Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1             Elizabeth            Lauren              Document
                                                                 Reeves     Page 35 of 73    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                 Total claim

4.7     Columbia Gas of Virginia                                          Last 4 digits of account number 00 0                                    $170.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        05/09/2023
        PO Box 70319
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        Philadelphia, PA 19176
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              Utility
       ❑      Yes

4.8     Comenity Capital Bank                                             Last 4 digits of account number 9284                                         $0.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        08/01/2020
        Trading Via: Bread
                                                                          As of the date you file, the claim is: Check all that apply.
        PO Box 183003
       Number          Street
                                                                          ❑   Contingent

        Columbus, OH 43218
                                                                          ❑   Unliquidated
       City                            State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                               ❑   Student loans
       ❑      Debtor 2 only                                               ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                      divorce that you did not report as priority claims
                                                                          ❑
       ❑      At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other
                                                                              similar debts
       ❑      Check if this claim is for a community debt                 ✔
                                                                          ❑   Other. Specify
       Is the claim subject to offset?                                        CreditCard
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                    page 5 of 10
                Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1             Elizabeth            Lauren              Document
                                                                 Reeves     Page 36 of 73    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.9     Cox                                                                   Last 4 digits of account number 1505                                         $49.99
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        05/15/2023
        PO Box 1259 Dept 102424
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Oaks, PA 19456
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Utility
       ❑      Yes

4.10    Discover Financial                                                    Last 4 digits of account number 2349                                   $9,755.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        08/01/2019
        PO Box 3025
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        New Albany, OH 43054-0000
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  CreditCard
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6 of 10
                Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1             Elizabeth            Lauren              Document
                                                                 Reeves     Page 37 of 73    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.11    Dominion Energy                                                       Last 4 digits of account number 1956                                         $69.39
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        05/12/2023
        PO Box 26666
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Richmond, VA 23261
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Utility
       ❑      Yes

4.12    Langley Fcu                                                           Last 4 digits of account number 0001                                 $14,459.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        09/01/2020
        721 Lakefront Commons
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Newport News, VA 23612
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Unsecured
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7 of 10
                Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1             Elizabeth            Lauren              Document
                                                                 Reeves     Page 38 of 73    Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.13    Syncb/Care Credit                                                     Last 4 digits of account number 9802                                   $4,640.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        02/01/2019
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number          Street
                                                                              ❑   Contingent

        Orlando, FL 32896-5060
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CreditCard
       ✔
       ❑      No
       ❑      Yes

4.14    Synchrony Bank/Lowes                                                  Last 4 digits of account number 1385                                   $3,444.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        04/01/2019
        PO Box 956005
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Orlando, FL 32896
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  ChargeAccount
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8 of 10
                Case 23-32071-KRH                  Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1           Elizabeth            Lauren              Document
                                                               Reeves     Page 39 of 73    Case number (if known)
                    First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Hampton General District Court                             On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.12 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        236 North King Street
        2nd Floor
                                                                                               ✔
                                                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                   Last 4 digits of account number 9-00
        Hampton, VA 23669-3518
       City                                State     ZIP Code


        Kelly, Lindsey                                             On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.12 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        11742 Jefferson Ave 3rd Fl
       Number          Street                                                                  ✔
                                                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Newport News, VA 23612
       City                                State     ZIP Code      Last 4 digits of account number 5369

                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                               of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line
       Number          Street                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number

       City                                State     ZIP Code




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                            page 9 of 10
                Case 23-32071-KRH                  Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Debtor 1          Elizabeth              Lauren             Document
                                                               Reeves     Page 40 of 73    Case number (if known)
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                             $0.00
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                              $0.00




                                                                                         Total claim


                   6f. Student loans                                          6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +                    $39,507.36
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                         $39,507.36




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10 of 10
                     Case 23-32071-KRH                      Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                       Document Page 41 of 73
 Fill in this information to identify your case:

     Debtor 1                       Elizabeth            Lauren             Reeves
                                    First Name           Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Eastern District of Virginia

     Case number                                                                                                                            ❑   Check if this is an
     (if known)                                                                                                                                 amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                 State what the contract or lease is for

2.1                                                                                                   Phone contract
        AT&T                                                                                          Contract to be ASSUMED
        Name
        PO Box 5014
        Number    Street
        Carol Stream, IL 60197
        City                                     State   ZIP Code

2.2                                                                                                   Storage Unit
        Extra Space Storage unit                                                                      Contract to be ASSUMED
        Name
        10815 Courthouse Rd
        Number     Street
        Fredericksburg, VA 22408
        City                                     State   ZIP Code

2.3                                                                                                   Residence
        Fredericksburg Area Rentals                                                                   Contract to be ASSUMED
        Name
         Attn Barbara Crane
        10601 Courthouse Rd Ste 210
        Number     Street
        Fredericksburg, VA 22407
        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                                Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
                  Case 23-32071-KRH                           Doc 1    Filed 06/16/23 Entered 06/16/23 12:24:37                             Desc Main
                                                                      Document Page 42 of 73
 Fill in this information to identify your case:

  Debtor 1                       Elizabeth              Lauren             Reeves
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                             Eastern District of Virginia

  Case number                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                          . Fill in the name and current address of that person.


                Name

                Number           Street

                City                                  State    ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt
                                                                                                             Check all schedules that apply:
3.1
      Reeves, Randall W.
                                                                                                             ✔ Schedule D, line 2.1
                                                                                                             ❑
      Name
      76 Beulah Land Way
                                                                                                             ❑ Schedule E/F, line
      Number            Street                                                                               ❑ Schedule G, line
      28734
      City                                    State   ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                                     Page 1 of 1
                  Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                        Desc Main
                                                                 Document Page 43 of 73
 Fill in this information to identify your case:

  Debtor 1                  Elizabeth              Lauren             Reeves
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                                Check if this is:

  United States Bankruptcy Court for the:                        Eastern District of Virginia                                 ❑ An amended filing
                                                                                                                              ❑ A supplement showing postpetition
  Case number                                                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status             ✔ Employed ❑ Not Employed
                                                                           ❑                                                   ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                    Sales Consultant
     employers.
                                             Employer's name               Boats Group LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address            1221 Brickell Ave Ste 2300
     Occupation may include student                                         Number Street                                       Number Street
     or homemaker, if it applies.




                                                                           Miami, FL 33131
                                                                            City                     State     Zip Code         City                  State   Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1     For Debtor 2 or
                                                                                                                          non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $9,020.85                     $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $9,020.85                     $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                page 1
                  Case 23-32071-KRH                                 Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37                              Desc Main
                                                                                   Document Page 44 of 73
 Debtor 1                 Elizabeth                    Lauren                          Reeves                                        Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.            $9,020.85                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.           $2,370.47                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.             $141.86                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.            $2,512.32                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.            $6,508.53                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.                $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $6,508.53    +               $0.00         =          $6,508.53

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $6,508.53

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                  Case 23-32071-KRH                    Doc 1         Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                                    Document Page 45 of 73
 Fill in this information to identify your case:

  Debtor 1                  Elizabeth               Lauren               Reeves
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                          Eastern District of Virginia
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $2,000.00


     If not included in line 4:
                                                                                                                              4a.                           $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $15.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                           $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                  Case 23-32071-KRH                  Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                          Desc Main
                                                               Document Page 46 of 73
 Debtor 1             Elizabeth             Lauren                Reeves                                     Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $120.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $90.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $133.21

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $600.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $175.00

 10. Personal care products and services                                                                           10.                   $125.00

 11.   Medical and dental expenses                                                                                 11.                   $350.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $225.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                   $400.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                       $0.00

       15c. Vehicle insurance                                                                                      15c.                  $114.56

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: Personal Property Tax                                                                              16.                       $25.00

 17. Installment or lease payments:
                                                                                                                   17a.                  $364.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
               Case 23-32071-KRH                     Doc 1    Filed 06/16/23 Entered 06/16/23 12:24:37                           Desc Main
                                                             Document Page 47 of 73
 Debtor 1            Elizabeth           Lauren                Reeves                                       Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                   See Additional Page                                                        21.     +            $406.65

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $5,143.42

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $5,143.42


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $6,508.53

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –           $5,143.42

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                $1,365.11
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
               Case 23-32071-KRH                  Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                    Desc Main
                                                             Document Page 48 of 73
 Debtor 1            Elizabeth           Lauren                 Reeves                               Case number (if known)
                     First Name          Middle Name            Last Name




                                                                                                                                      Amount


   6c. Telephone, cell phone, Internet, satellite, and cable services
       Cell phone                                                                                                                      $83.22
       Internet                                                                                                                        $49.99

   9. Clothing, laundry, and dry cleaning
       Laundry                                                                                                                         $25.00
       Clothing                                                                                                                       $150.00

   12. Transportation: gas, maintenance, bus or train fare
       Gas                                                                                                                            $150.00
       Maintenance                                                                                                                     $25.00
       Bus                                                                                                                             $50.00

   21. Other
       Pet Care                                                                                                                       $250.00
       Home security                                                                                                                    $6.65
       Misc.                                                                                                                          $150.00




Official Form 106J                                                       Schedule J: Your Expenses                                        page 4
                  Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                 Document Page 49 of 73
 Fill in this information to identify your case:

  Debtor 1                  Elizabeth              Lauren             Reeves
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                          Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Elizabeth Lauren Reeves
        Elizabeth Lauren Reeves , Debtor 1


        Date 06/16/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                                 Document Page 50 of 73
 Fill in this information to identify your case:

  Debtor 1                  Elizabeth              Lauren             Reeves
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                        ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived     Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     1005 Shirley Ave                                       From 2016                                                                     From
    Number       Street                                                                 Number    Street
                                                            To    8/22                                                                    To

     Norfolk, VA 23507
    City                            State ZIP Code                                      City                        State ZIP Code



                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     702 Littlepage St                                      From 8/22                                                                     From
    Number       Street                                                                 Number    Street
                                                            To    9/22                                                                    To

     Fredericksburg, VA 22401
    City                            State ZIP Code                                      City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
               Case 23-32071-KRH                  Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                 Desc Main
                                                            Document Page 51 of 73
Debtor 1            Elizabeth         Lauren                 Reeves                                          Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                          $49,349.70
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                     $94,588.00           bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                   $104,534.00            bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:                     Retirement Account                     $17,267.00
    (January 1 to December 31, 2022       )     Early Withdraw
                                   YYYY




    For the calendar year before that:
    (January 1 to December 31, 2021       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
               Case 23-32071-KRH                             Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                       Document Page 52 of 73
Debtor 1             Elizabeth                    Lauren                Reeves                                         Case number (if known)
                     First Name                   Middle Name           Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                   Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                   payment

                                                                                                                                          ❑ Mortgage
                                                                                                                                          ✔ Car
             Sheffield Financial                                   06/12/2023                    $1,092.00                 $21,622.00
             Creditor's Name                                                                                                              ❑
             PO Box 580229                                         05/12/2023                                                             ❑ Credit card
                                                                                                                                          ❑ Loan repayment
             Number       Street
                                                                   04/12/2023
             Charlotte, NC 28258-0229
             City                         State      ZIP Code
                                                                                                                                          ❑ Suppliers or vendors
                                                                                                                                          ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of            Total amount paid   Amount you still          Reason for this payment
                                                                payment                                 owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
                 Case 23-32071-KRH                     Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                  Desc Main
                                                                 Document Page 53 of 73
Debtor 1             Elizabeth             Lauren                 Reeves                                          Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case


                                                                                                                                            ✔ Pending
                                                     Warrant in debt
    Case title        Langley Federal Credit
                      Union
                                                                                            Hampton General District Court                  ❑
                                                                                                                                            ❑ On appeal
                                                                                            Court Name
                                                                                            236 North King Street
    Case number GV23005369-00
                                                                                                                                            ❑ Concluded
                                                                                            2nd Floor
                                                                                            Number       Street
                                                                                            Hampton, VA 23669-3518
                                                                                            City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
               Case 23-32071-KRH                        Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                  Document Page 54 of 73
Debtor 1            Elizabeth              Lauren                  Reeves                                         Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
               Case 23-32071-KRH                        Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                Desc Main
                                                                  Document Page 55 of 73
Debtor 1             Elizabeth              Lauren                 Reeves                                         Case number (if known)
                     First Name             Middle Name            Last Name

     Gifts with a total value of more than $600            Describe the gifts                                         Dates you gave       Value
     per person                                                                                                       the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities             Describe what you contributed                               Date you              Value
     that total more than $600                                                                                   contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                             Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
               Case 23-32071-KRH                    Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                               Document Page 56 of 73
Debtor 1            Elizabeth           Lauren                 Reeves                                         Case number (if known)
                    First Name          Middle Name             Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred           Date payment or       Amount of payment
    Conway Law Group PC                                                                                      transfer was made
    Person Who Was Paid                       Debit
                                                                                                             11/30/2022                       $350.00
    1320 Central Park Blvd, 250
    Number     Street




    Fredericksburg, VA 22401
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Description and value of any property transferred           Date payment or       Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
               Case 23-32071-KRH                     Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                                Document Page 57 of 73
Debtor 1            Elizabeth            Lauren                  Reeves                                        Case number (if known)
                    First Name           Middle Name             Last Name

                                                  Description and value of property        Describe any property or payments               Date transfer was
                                                  transferred                              received or debts paid in exchange              made

    Person Who Received Transfer


    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Description and value of the property transferred                                        Date transfer was
                                                                                                                                           made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                  Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                        instrument               closed, sold, moved, or    before closing or
                                                                                                                 transferred                transfer
    Truist Bank (Suntrust)
                                                                                      ✔ Checking
                                                                                                                  9/22                               $0.00
                                                                                      ❑
    Name of Financial Institution                 XXXX– 2       9    3       7

    PO Box 26149                                                                      ❑ Savings
                                                                                      ❑ Money market
    Number      Street


                                                                                      ❑ Brokerage
                                                                                      ❑ Other
    Richmond, VA 23260
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
               Case 23-32071-KRH                     Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                               Document Page 58 of 73
Debtor 1            Elizabeth            Lauren                 Reeves                                        Case number (if known)
                    First Name           Middle Name            Last Name

                                                   Who else had access to it?                 Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Financial Institution                 Name
                                                                                                                                         ❑ Yes

    Number      Street                            Number    Street



                                                  City                State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Who else has or had access to it?          Describe the contents                       Do you still have
                                                                                                                                          it?
                                                                                             Childhood mementos, holiday decorations
    Extra Space Storage                           No one                                                                                 ❑ No
    Name of Storage Facility                      Name
                                                                                                                                         ✔ Yes
                                                                                                                                         ❑
    10815 Courthouse Rd
    Number      Street                            Number    Street



                                                  City                 State    ZIP Code
    Fredericksburg, VA 22408
    City                    State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Where is the property?                     Describe the property                       Value


    Owner's Name
                                                  Number    Street


    Number      Street

                                                  City                State    ZIP Code


    City                   State    ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
               Case 23-32071-KRH                     Doc 1     Filed 06/16/23 Entered 06/16/23 12:24:37                                 Desc Main
                                                              Document Page 59 of 73
Debtor 1            Elizabeth           Lauren                Reeves                                           Case number (if known)
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                      Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number     Street


                                              City                State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                      Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number     Street


                                              City                State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 10
                 Case 23-32071-KRH                       Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                                  Desc Main
                                                                   Document Page 60 of 73
Debtor 1            Elizabeth             Lauren                    Reeves                                           Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                  Status of the case


    Case title
                                                  Court Name
                                                                                                                                                ❑ Pending
                                                                                                                                                ❑ On appeal
                                                                                                                                                ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From                  To

    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 11
              Case 23-32071-KRH                  Doc 1      Filed 06/16/23 Entered 06/16/23 12:24:37                             Desc Main
                                                           Document Page 61 of 73
 Debtor 1           Elizabeth           Lauren                Reeves                                        Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Elizabeth Lauren Reeves
        Signature of Elizabeth Lauren Reeves , Debtor 1


        Date 06/16/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
                  Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
 Fill in this information to identify your case:
                                                                 Document Page 62 of 73          Check as directed in lines 17 and 21:
                                                                                                                            According to the calculations required by this
  Debtor 1                  Elizabeth              Lauren              Reeves                                               Statement:
                           First Name              Middle Name         Last Name
                                                                                                                            ❑ 1. Disposable income is not determined
  Debtor 2                                                                                                                     under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)      First Name              Middle Name         Last Name                                            ✔ 2. Disposable income is determined
                                                                                                                            ❑
                                                                                                                               under 11 U.S.C. § 1325(b)(3).
  United States Bankruptcy Court for the:                        Eastern District of Virginia
                                                                                                                            ❑ 3. The commitment period is 3 years.
  Case number
  (if known)
                                                                                                                            ✔ 4. The commitment period is 5 years.
                                                                                                                            ❑
                                                                                                                            ❑ Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                  10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).


 Part 1: Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married. Fill out both Columns A and B, lines 2-11.
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                                 Column A              Column B
                                                                                                                 Debtor 1              Debtor 2 or
                                                                                                                                       non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                    $9,020.85
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                                $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you listed
    on line 3.                                                                                                              $0.00


 5. Net income from operating a business, profession, or
    farm                                                                Debtor 1         Debtor 2
                                                                             $0.00              $0.00
     Gross receipts (before all deductions)

     Ordinary and necessary operating expenses
                                                                   -         $0.00   -          $0.00

                                                                             $0.00              $0.00   Copy
     Net monthly income from a business, profession, or farm                                                                $0.00
                                                                                                        here →


 6. Net income from rental and other real property                      Debtor 1         Debtor 2
                                                                             $0.00              $0.00
     Gross receipts (before all deductions)

     Ordinary and necessary operating expenses
                                                                   -         $0.00   -          $0.00

                                                                             $0.00              $0.00   Copy
     Net monthly income from rental or other real property                                                                  $0.00
                                                                                                        here →


 Official Form 122C-1                     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                    page 1
                  Case 23-32071-KRH                                     Doc 1             Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1                   Elizabeth                      Lauren                         Document
                                                                                           Reeves     Page 63 of 73    Case number (if known)
                           First Name                      Middle Name                        Last Name
                                                                                                                        Column A                    Column B
                                                                                                                        Debtor 1                    Debtor 2 or
                                                                                                                                                    non-filing spouse
 7. Interest, dividends, and royalties                                                                                                  $0.00

 8. Unemployment compensation                                                                                                           $0.00
    Do not enter the amount if you contend that the amount received was a benefit under
    the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................        $0.00

           For your spouse......................................................................

 9. Pension or retirement income. Do not include any amount received that was a benefit                                                 $0.00
    under the Social Security Act. Also, except as stated in the next sentence, do not
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired
    under any provision of title 10 other than chapter 61 of that title.

 10. Income from all other sources not listed above. Specify the source and amount. Do
     not include any benefits received under the Social Security Act; payments received as
     a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.




    Total amounts from separate pages, if any.                                                                         +                             +
                                                                                                                                 $9,020.85                                  =   $9,020.85
 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                                                    +
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total average
                                                                                                                                                                            monthly income

Part 2: Determine How to Measure Your Deductions from Income

 12. Copy your total average monthly income from line 11. .................................................................................                                      $9,020.85

 13. Calculate the marital adjustment. Check one:
   ✔ You are not married. Fill in 0 below.
   ❑
   ❑ You are married and your spouse is filing with you. Fill in 0 below.
   ❑ You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or
       your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
       dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list
       additional adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                 +

       Total...........................................................................................
                                                                                                                              $0.00
                                                                                                                                              Copy here. →
                                                                                                                                                                        -           $0.00

 14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                    $9,020.85




Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                      page 2
                  Case 23-32071-KRH                                    Doc 1            Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1                  Elizabeth                      Lauren                        Document
                                                                                         Reeves     Page 64 of 73    Case number (if known)
                          First Name                      Middle Name                       Last Name

 15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here →...............................................................................................................................................................                $9,020.85

              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   x 12
                                                                                                                                                                                                            $108,250.20
       15b. The result is your current monthly income for the year for this part of the form.....................................................................

 16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                                                                        Virginia

       16b. Fill in the number of people in your household.                                                                 1

       16c. Fill in the median family income for your state and size of household. ....................................................................................                                      $75,376.00
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

 17. How do the lines compare?

       17a.     ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                       U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
       17b.     ✔
                ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your
                       current monthly income from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11. ..........................................................................................................                                          $9,020.85

 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the
     amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                        -           $0.00

   19b. Subtract line 19a from line 18.                                                                                                                                                                       $9,020.85

 20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................            $9,020.85

           Multiply by 12 (the number of months in a year).                                                                                                                                          x 12
                                                                                                                                                                                                            $108,250.20
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                             $75,376.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

 21. How do the lines compare?
   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ✔
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


         ✘ /s/ Elizabeth Lauren Reeves
               Signature of Debtor 1

               Date 06/16/2023
                         MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.


Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                  page 3
                 Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                            Desc Main
Fill in this information to identify your case:
                                                                Document Page 65 of 73

 Debtor 1                  Elizabeth              Lauren             Reeves
                          First Name              Middle Name       Last Name

 Debtor 2
 (Spouse, if filing)      First Name              Middle Name       Last Name

 United States Bankruptcy Court for the:                        Eastern District of Virginia

 Case number                                                                                                                   ❑     Check if this is an
 (if known)                                                                                                                          amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                              04/22
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
(Official Form 122C–1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write
your name and case number (if known).



Part 1: Calculate Your Deductions from Your Income


 The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in
 lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available
 at the bankruptcy clerk’s office.


 Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if
 they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not
 deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.



 If your expenses differ from month to month, enter the average expense.



 Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




  5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
                                                                                                                                 1
       number of any additional dependents whom you support. This number may be different from the number of
       people in your household.




     National
     Standards             You must use the IRS National Standards to answer the questions in lines 6-7.




  6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                                                $841.00
     Standards, fill in the dollar amount for food, clothing, and other items.


  7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the
     dollar amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people
     who are 65 or older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher
     than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                   page 1
                    Case 23-32071-KRH                                 Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1                   Elizabeth                     Lauren                      Document
                                                                                       Reeves     Page 66 of 73    Case number (if known)
                           First Name                    Middle Name                      Last Name



           People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person                                                   $79.00

           7b. Number of people who are under 65                                                       X         1

                                                                                                                                                 Copy
           7c. Subtotal. Multiply line 7a by line 7b.                                                           $79.00                                            $79.00
                                                                                                                                                 here →

           People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person                                                 $154.00

           7e. Number of people who are 65 or older                                                    X         0

                                                                                                                                                 Copy        +         $0.00
           7f.    Subtotal. Multiply line 7d by line 7e.                                                          $0.00
                                                                                                                                                 here →

     7g.     Total. Add lines 7c and 7f. ...............................................................................................................              $79.00 Copy here →....     $79.00


     Local
     Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                                      $567.00
       the dollar amount listed for your county for insurance and operating expenses.
9.     Housing and utilities – Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount                                                                 $1,734.00
               listed for your county for mortgage or rent expenses.
           9b. Total average monthly payment for all mortgages and other debts secured by
               your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file for
                 bankruptcy. Next divide by 60.

                  Name of the creditor                                                          Average monthly
                                                                                                payment




                                                                                                   +
                                                                                                                                   Copy                                Repeat this amount
                           9b. Total average monthly payment                                                      $0.00                              –        $0.00
                                                                                                                                   here →                              on line 33a.

       9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If
                                                                                                                                                           $1,734.00      Copy here →.....     $1,734.00
           this number is less than $0, enter $0.

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                                          $0.00
    the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain
             why:




Official Form 122C-2                                                          Chapter 13 Calculation of Your Disposable Income                                                                    page 2
                Case 23-32071-KRH                      Doc 1        Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1               Elizabeth             Lauren                Document
                                                                     Reeves     Page 67 of 73    Case number (if known)
                       First Name            Middle Name               Last Name



 11.   Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       ❑     0. Go to line 14.
       ❑     1. Go to line 12.
       ✔
       ❑     2 or more. Go to line 12.
 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating                   $294.00
     expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.
 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
     vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may
     not claim the expense for more than two vehicles.

                                                   2023 Kia Forte
           Vehicle 1      Describe Vehicle 1:


       13a. Ownership or leasing costs using IRS Local Standard.......................................       $629.00

       13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.
             To calculate the average monthly payment here and on line 13e, add all
             amounts that are contractually due to each secured creditor in the 60
             months after you file for bankruptcy. Then divide by 60.
             Name of each creditor for Vehicle 1                   Average monthly
                                                                   payment
             Truist                                                             $364.96

                                                                   +
                                                                                 $364.96        Copy                 Repeat this amount
                             Total average monthly payment                                      here →   –   $364.96 on line 33b.

       13c. Net Vehicle 1 ownership or lease expense
                                                                                                             $264.04 Copy net Vehicle 1
             Subtract line 13b from line 13a. If this number is less than $0, enter $0.............                  expense here →         $264.04


           Vehicle 2    Describe Vehicle 2:


       13d. Ownership or leasing costs using IRS Local Standard.......................................
       13e. Average monthly payment for all debts secured by Vehicle 2.
             Do not include costs for leased vehicles.
             Name of each creditor for Vehicle 2                   Average monthly
                                                                   payment



                                                                   +
                                                                                                Copy                   Repeat this amount
                             Total average monthly payment                                      here →   –             on line 33c.
       13f. Net Vehicle 2 ownership or lease expense
                                                                                                                       Copy net Vehicle 2
             Subtract line 13e from 13d. If this number is less than $0, enter $0.............                         expense here →

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a
     public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the          $0.00
     IRS Local Standard for Public Transportation.




Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                         page 3
              Case 23-32071-KRH                  Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1           Elizabeth            Lauren              Document
                                                              Reeves     Page 68 of 73    Case number (if known)
                   First Name           Middle Name             Last Name



  Other Necessary            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                   following IRS categories.

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes,                                $2,370.45
    social security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if
    you expect to receive a tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount
    that is withheld to pay for taxes.
    Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and                                   $0.00
    uniform costs.
    Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together,                                     $0.00
    include payments that you make for your spouse’s term life insurance.
    Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance
    other than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as                                      $0.00
    spousal or child support payments.
    Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:                                                                                  $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                                    $0.00
    Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the                                     $0.00
    health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include
    only the amount that is more than the total entered in line 7.
    Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                                 +        $0.00
    dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent
    necessary for your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your
    employer.
    Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as
    those reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                     $6,149.49
    Add lines 6 through 23.

  Additional Expense         These are additional deductions allowed by the Means Test.
  Deductions                 Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
    insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

      Health insurance                                      $100.19

      Disability insurance                                    $0.00

      Health savings account                       +         $41.66

      Total                                                 $141.85      Copy total here → ........................................................................        $141.85

     Do you actually spend this total amount?

     ❑ No. How much do you actually spend?
     ✔ Yes
     ❑
26. Continuing contributions to the care of household or family members.                                                                                                     $0.00
    The actual monthly expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
    ill, or disabled member of your household or member of your immediate family who is unable to pay for such expenses. These
    expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your                                      $0.00
    family under the Family Violence Prevention and Services Act or other federal laws that apply.
    By law, the court must keep the nature of these expenses confidential.




Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                                                          page 4
               Case 23-32071-KRH                                Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1               Elizabeth                    Lauren                     Document
                                                                                 Reeves     Page 69 of 73    Case number (if known)
                       First Name                   Middle Name                     Last Name



28.   Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in
      the excess amount of home energy costs                                                                                                                                  $0.00
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is
      reasonable and necessary.

29.   Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58* per child)                                              $0.00
      that you pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary
      school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.

30.   Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the                                            $0.00
      combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing
      allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form.
      This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.

31.   Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a +                                $0.00
      religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
      Do not include any amount more than 15% of your gross monthly income.

32.   Add all of the additional expense deductions.                                                                                                                         $141.85
      Add lines 25 through 31.

 Deductions for Debt Payment

33.   For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and
      other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.
                                                                                                                                          Average monthly
                                                                                                                                          payment

       Mortgages on your home
                                                                                                                                                       $0.00
       33a. Copy line 9b here .....................................................................................................→

       Loans on your first two vehicles
                                                                                                                                                     $364.96
       33b. Copy line 13b here ..................................................................................................→

       33c. Copy line 13e here ..................................................................................................→

       33d. List other secured debts:

           Name of each creditor for other                         Identify property that secures the                       Does payment
           secured debt                                            debt                                                     include taxes or
                                                                                                                            insurance?

                                                                                                                           ❑ No
                                                                                                                           ❑ Yes
                                                                                                                           ❑ No
                                                                                                                           ❑ Yes
                                                                                                                           ❑ No
                                                                                                                           ❑ Yes               +
                                                                                                                                                   $364.96     Copy total
       33e. Total average monthly payment. Add lines 33a through 33d. ...................................                                                                   $364.96
                                                                                                                                                               here→




Official Form 122C-2                                                    Chapter 13 Calculation of Your Disposable Income                                                          page 5
                Case 23-32071-KRH                                    Doc 1           Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1                 Elizabeth                     Lauren                       Document
                                                                                      Reeves     Page 70 of 73    Case number (if known)
                         First Name                     Middle Name                       Last Name



 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your
     support or the support of your dependents?

      ❑ No. Go to line 35.
      ✔ Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
      ❑
           possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

       Name of the creditor                                  Identify property that                              Total cure                              Monthly cure
                                                             secures the debt                                    amount                                  amount
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =
                                                                                                                                          ÷ 60 =                 +
                                                                                                                          Copy total             Total                $0.00                   $0.00
                                                                                                                          here →
 35. Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
     bankruptcy case? 11 U.S.C. § 507.

      ✔ No. Go to line 36.
      ❑
      ❑ Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as
                  those you listed in line 19.

                  Total amount of all past-due priority claims..................................................................                                                    ÷ 60

 36. Projected monthly Chapter 13 plan payment                                                                                                                   $0.00

           Current multiplier for your district as stated on the list issued by the Administrative Office of the
           United States Courts (for districts in Alabama and North Carolina) or by the Executive Office for
           United States Trustees (for all other districts).
           To find a list of district multipliers that includes your district, go online using the link specified in
           the separate instructions for this form. This list may also be available at the bankruptcy clerk’s
           office.                                                                                                                                       X           10.00%


                                                                                                                                                                                   Copy
                                                                                                                                                                      $0.00        total
           Average monthly administrative expense
                                                                                                                                                                                   here →     $0.00


 37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                   $364.96



Total Deductions from Income


 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances ....................................                                                 $6,149.49


      Copy line 32, All of the additional expense deductions....................................................................                                      $141.85


      Copy line 37, All of the deductions for debt payment.......................................................................                            +        $364.96

                                                                                                                                                                                Copy
                                                                                                                                                                 $6,656.30      total       $6,656.30
      Total deductions..............................................................................................................................                            here →




Official Form 122C-2                                                        Chapter 13 Calculation of Your Disposable Income                                                                      page 6
                 Case 23-32071-KRH                           Doc 1         Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1                Elizabeth                 Lauren                  Document
                                                                            Reeves     Page 71 of 73    Case number (if known)
                        First Name                Middle Name                 Last Name


Part 2: Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)


39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
    Statement of Your Current Monthly Income and Calculation of Commitment Period.                                           ................................................................       $9,020.85

40. Fill in any reasonably necessary income you receive for support for dependent children.                                                   $0.00
    The monthly average of any child support payments, foster care payments, or disability
    payments for a dependent child, reported in Part I of Form 122C-1, that you received in
    accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
    expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your                                                   $0.00
    employer withheld from wages as contributions for qualified retirement plans, as specified in
    11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
    specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... →                                           $6,656.30

43. Deduction for special circumstances. If special circumstances justify additional expenses
    and you have no reasonable alternative, describe the special circumstances and their
    expenses. You must give your case trustee a detailed explanation of the special
    circumstances and documentation for the expenses.

         Describe the special circumstances                                 Amount of expense




                                                                                  +

                                                                                              $0.00      Copy here
                                                               Total                                     →                   +             $0.00


                                                                                                                                                                                                –     $6,656.30
44. Total adjustments. Add lines 40 through 43........................................................................                $6,656.30                        Copy here →



45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                                        $2,364.55


Part 3: Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have
    changed or are virtually certain to change after the date you filed your bankruptcy petition and during the time your
    case will be open, fill in the information below. For example, if the wages reported increased after you filed your
    petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the wages increased, fill
    in when the increase occurred, and fill in the amount of the increase.

   Form             Line           Reason for change                                                                     Date of change             Increase or                  Amount of change
                                                                                                                                                    decrease?
 ❑ 122C-1                                                                                                                                           ❑ Increase
 ❑ 122C-2                                                                                                                                           ❑ Decrease
 ❑ 122C-1                                                                                                                                           ❑ Increase
 ❑ 122C-2                                                                                                                                           ❑ Decrease




Official Form 122C-2                                               Chapter 13 Calculation of Your Disposable Income                                                                                         page 7
             Case 23-32071-KRH                   Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37 Desc Main
Debtor 1           Elizabeth            Lauren              Document
                                                              Reeves     Page 72 of 73    Case number (if known)
                   First Name           Middle Name            Last Name


Part 4: Sign Below



    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


       ✘ /s/ Elizabeth Lauren Reeves
           Signature of Debtor 1

           Date 06/16/2023
                  MM/ DD/ YYYY




Official Form 122C-2                                  Chapter 13 Calculation of Your Disposable Income                                       page 8
       Case 23-32071-KRH                 Doc 1       Filed 06/16/23 Entered 06/16/23 12:24:37                               Desc Main
                                                    Document Page 73 of 73
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF VIRGINIA
                                                           RICHMOND DIVISION

IN RE: Reeves , Elizabeth Lauren                                                      CASE NO

                                                                                      CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      06/16/2023            Signature                            /s/ Elizabeth Lauren Reeves
                                                                    Elizabeth Lauren Reeves , Debtor
